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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA

TODD BARKLEY,                   §
                                §
           Plaintiff,           §                 Civil Action No. 3:19-cv-00470-MCR-HTC
                                §
           v.                   §
                                §
DIVERSIFIED ADJUSTMENT SERVICE, §
INC.,                           §
                                §
           Defendant.           §
                                §


               JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the dismissal

with prejudice and with each party to bear its own costs and fees.


/s/ Rachel M. Ortiz                             /s/ Amy L. B. Ginsburg
  Rachel M Ortiz, Esq.                            Amy L. B. Ginsburg, Esq.
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  Attorneys for the Defendant                    Date: February 3, 2020

 Date: February 3, 2020



                                              BY THE COURT:



                                              _________________________
                                                                      J.
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                               CERTIFICATE OF SERVICE

              I, Amy L. Bennecoff Ginsburg, Esquire, do certify that I served a true and correct

copy of the Stipulation of Dismissal in the above-captioned matter, upon the following via

CM/ECF system:



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Dated: February 3, 2020                    By: /s/ Amy L. B. Ginsburg
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